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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York




                                                      86 Chambers Street, 3rd floor
                                                      New York, New York 10007


                                                      October 14, 2021

BY ECF
The Honorable Katherine Polk Failla
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

The Honorable George B. Daniels
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007

The Honorable Sarah Netburn
United States Magistrate Judge
United States Courthouse
40 Foley Square
New York, NY 10007

                       Re:     John Does 1 Through 7 v. The Taliban et al.
                               No. 20 Misc. 740 (KPF);
                               In re Terrorist Attacks on September 11, 2001
                               No. 03 Md. 1570 (GBD) (SN);
                               Havlish et al. v. Bin-Laden et al.
                               No. 03 Civ. 9848 (GBD) (SN)—Participation of the
                               United States Pursuant to 28 U.S.C. § 517

Dear Judge Failla, Judge Daniels, and Judge Netburn:

        Pursuant to the Court’s orders in Doe v. The Taliban, No. 20 Misc. 740 (KPF)
(ECF No. 19), and Havlish v. Bin-Laden, No. 03 Civ. 9848 (GBD) (SN) (ECF No. 527),
the United States writes respectfully to provide notice of its intent to file a Statement of
Interest regarding the writs of execution recently served by the plaintiffs in these cases on
certain accounts at the Federal Reserve Bank of New York (“FRBNY”), held by Da
Afghanistan Bank (“DAB”). See Doe, ECF No. 28; Havlish, ECF No. 526-1. Taking
into account the time needed to prepare this submission, and to obtain full consultation,
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Hon. George B. Daniels
Hon. Sarah Netburn
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review, and approval within numerous agencies of the Government, the United States
respectfully requests that it be permitted until December 3, 2021, to file its Statement of
Interest. The United States submits that there is no urgent need to expedite these
proceedings further, given the fact that the DAB accounts at FRBNY are currently
subject to and restrained by plaintiffs’ writs.

        Last, the United States respectfully notes the possible application of Rule 14 of
the SDNY Rules for the Division of Business Among District Judges to the portions of
the above-referenced cases dealing with plaintiffs’ writs of execution on the DAB
accounts at FRBNY. While plaintiffs’ underlying matters are factually distinct, their
writs of execution are directed towards the same party (the Taliban) and the same DAB
accounts at FRBNY. The United States’ Statement of Interest will apply identically in
both matters. Therefore, the same issues and property will potentially be subject to
separate consideration in each of these cases at the same time, creating a risk of
conflicting orders and substantial duplication of effort by the parties and the Court. In
light of these factors, and subject to the Court’s discretion, the United States would not
object to the transfer to one judge of the portions of these matters dealing specifically
with plaintiffs’ writs of execution on the DAB accounts at FRBNY.

         The United States appreciates the Court’s consideration of this letter.


                                            Respectfully,
                                            DAMIAN WILLIAMS
                                            United States Attorney

                                      By:     /s/ Rebecca S. Tinio
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cc:      All counsel of record (via ECF)
